                                                                 FILED IN OPEN COURT
                                                                 ON     y--,-~ 6(Ut--
                                                                      Peter A. Moore, Jr., Clerk
                                                                      US District Court
                                                                      Eastern District of NC

                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION

                      NO.   7·.1,0--(12-5~--I B0(3)

UNITED STATES OF AMERICA               )
                                      .)
               V.                      )      INDICTMENT
                                       )
LESLIE MCCRAE DOWLESS JR.              )


      The Grand Jury charges:

                                  INTRODUCTION

      At all times relevant to this Indictment:

      1.       The Social Security Administration ("SSA''), an agency of the United

States Government, administered monetary aid to the public through various

federally funded programs. One program was the Title XVI Supplemental Security

Income program ("SSI"), which authorized monthly monetary payments to

individuals who were 65 years or older, blind, or disabled, and who met certain

limited income and resource criteria.      The a~ount paid to each SSI recipient

depended on how much other income the individual received, among other things.

From 2013 onward, SSI recipients could own up to $2,000.00 in resources, including

cash, bank accounts, life insurance, savings bonds, automobiles, and other property.

SSI recipients who received benefits based upon a disability were required to

periodically complete redetermination forms to review the status of the recipient's

medical condition. SSA required SSI recipients to report any changes in their status,




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including any work activity and improvements in their medical condition, within ten

days after the month the change occurred.

      2.       SSA also managed the Title II Retirement Insurance Benefits program

("RIB"), which authorized monthly monetary payments to eligible retired workers

and their eligible dependents ("program beneficiaries"). RIB was payable to an

individual age 62 or over who met the earnings requirement to be fully insured. Its

purpose was to replace part of the earnings lost due to retirement. Once awarded,

several factors could impact the amount of RIB payments program beneficiaries

received during a given time period.      For example, increased earnings, pension

payments, and changes in marital status could trigger a recalculation of the monthly

RIB payment. SSA required program beneficiaries to report any of the listed changes

to the agency as soon as possible. Program beneficiaries were permitted to work while

receiving RIB but any earnings above the annual limit often resulted in a reduction

of RIB payments. In 2018, the annual earnings limit was approximately $17,040.00.

      3.       On or about February 12, 2013, the Defendant, LESLIE MCCRAE

DOWLESS JR. ("DOWLESS"), applied for SSI citing a disabling condition with a

December 27, 2012 onset date. SSA approved DOWLESS for SSI benefits on or about

April 30, 2013, based upon his alleged disability.

      4.       On or about April 18, 2014, SSA notified DOWLESS it overpaid him

$5,217.68 in SSI benefits because DOWLESS received $5,258.00 in wages and

unearned income between January and February 2014. The money made DOWLESS


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ineligible for the SSI payments he received during that time period.

      5.       On or about November 16, 2016, DOWLESS completed a SSI

redetermination form claiming he remained disabled and did not receive income

beyond his SSI benefits. SSA continued to pay DOWLESS SSI benefits until in or

around November 2018.

      6.       On or about July 2, 2018, DOWLESS applied for RIB at the age of 62.

In that application, DOWLESS stated he did not expect to work in 2018 and had not

worked in the two years prior to his application. SSA approved DOWLESS for RIB

on or about July 7, 2018.

      7.      Unbeknownst to SSA, DOWLESS worked for at least two candidates

and their campaigns during the 2018 Midterm Election. Specifically, between in or

around April 2017, and in or around May 2017, DOWLESS received approximately

$3,300.00 in payments for his work. Between in or around August 2017, and in or

around November 2018, DOWLESS received approximately $132,365.57 in

payments. DOWLESS failed to report his work activ1ty and income to SSA. At the

time DOWLESS applied for RIB, he had received approximately $63,984.57 m

payments between in or around January 2018, and in or around June 2018.

      8.      Because it was not aware of DOWLESS's ongoing work activity, SSA

issued approximately $8,599.10 in SSI payments to DOWLESS between in or around

March 2017, and in or around June 2018, when those payments were not authorized.

SSA also issued approximately $5,604.00 in RIB payments to DOWLESS between in


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or around July 2018, and in or around November 2018. In total, SSA tendered

approximately $14,203.10 in unauthorized payments.

                                    COUNT ONE

       9.     From in or around March 2017, and continuing until in or around

November 2018, in the Eastern District of North Carolina and elsewhere, the

Defendant, LESLIE MCCRAE DOWLESS JR., did knowingly, intentionally and

willfully embezzle, steal, purloin and convert to his own use and the use of another,

on a recurring basis, money belonging to the United States exceeding the sum of

$1,000, to which he knew he was not entitled, namely, Social Security Title XVI

Supplemental Security Income, and Title II Retirement Insurance Benefits

payments issued to DOWLESS, in violation of Title 18, United States Code, Section

641.

                                   COUNT TWO

       10.    Paragraphs 1 through 8 are re-alleged and incorporated here as though

fully set forth in this count.

       11.    From in or around March 2017, and continuing until in or around June

2018, in the Eastern District of North Carolina and elsewhere, the Defendant,

LESLIE MCCRAE DOWLESS JR., in a matter within the jurisdiction of the Social

Security Administration, having knowledge, of the occurrence of an event affecting his

initial and continued right to Supplemental Security Income Benefits; concealed and

failed to disclose such an event with the intent to fraudulently secure payment when


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no payment was authorized.          Specifically, the defendant, LESLIE MCCRAE

DOWLESS JR., intentionally concealed his work and earnings from the Social

Security Administration knowing that it would affect the Social Security

Administration's ability to properly evaluate his entitlement to benefits, in violation

of Title 42, United States Code, Section 1383a(a)(3).

                                   COUNT THREE

       12.    Paragraphs 1 through 8 are re-alleged and incorporated here as though

fully set forth in this count.

       13.    From in or around July 2018, and continuing until in or around

November 2018, in the Eastern District of North Carolina and elsewhere, the

Defendant, LESLIE MCCRAE DOWLESS JR., in a matter within the jurisdiction of

the Social Security Administration, having knowledge of the occurrence of an event

affecting his initial or continued right of payment under Subchapter II of Title 42,

United States Code, did conceal and fail to disclose said event with an intent

fraudulently to secure payment in a greater amount than was due and when no

payment was authorized. Specifically, the Defendant, LESLIE MCCRAE DOWLESS

JR., concealed his work activity and related earnings in order to receive Social

Security Title II Retirement Insurance Benefits payments to which he was not

entitled, in violation of Title 42, United States Code, Section 408(a)(4).



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                                   COUNT FOUR

       14.    Paragraphs 1 through 8 are re-alleged and incorporated here as though

fully set forth in this count.

       15.    On or about July 2, 2018, in the Eastern District of North Carolina and

elsewhere, the Defendant, LESLIE MCCRAE DOWLESS JR., did knowingly and

willfully make materially false,      fictitious,   and fraudulent statements and

representations in his Retirement Insurance Benefits Application, a matter within

the jurisdiction of the Executive Branch of the Government of the United States, by

falsely representing he was not working at the time of his application, did not expect

to work t~e year of his application, and had not worked in the two years prior to his

application, when in fact he knew that he had been employed since in or around

March 2017, in violation of Title 18, United States Code, Section 1001.



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                               FORFEITURE NOTICE

      The Defendant is hereby given notice that all of the Defendant's interest in all

property specified herein is subject to forfeiture.

      Upon convict1on of the offense set forth in Count One of this Indictment, the

Defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 981(a)(l)(C), as made applicable by 28 United States Code, Section 2461(c),

any. property, real or personal, constituting, or derived from, proceeds traceable to

such violation.

      The forfeitable property includes, but is not limited to, the gross proceeds of

the offense described above actually obtained by the Defendant in the amount of at

least fourteen thousand, two hundred and three dollars, and ten cents ($14,203.10)

in U.S. currency.

      If any of the above-described forfeitable property, as a result of any act or

omission of the Defendant,

      (1) cannot be located upon the exercise of due diligence;

      (2) has been transferred or sold to, or deposited with, a third person;

      (3) has been placed beyond the jurisdiction of the court;

      (4) has been substantially diminished in value; or




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      (5) has been commingled with other property which cannot be subdivided

          without difficulty;

it is the intent of the United States, pursuant t9 Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said Defendant up to the value of

the above forfeitable property.

                                               A TRUE BILL


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                                               DATE


ROBERT J. HIGDON, JR.
United States Attorney




Special Assistant United States ttorney




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